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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,


                                                            Case No. 1:19-cr-10081-IT-MPK
 v.

 GORDON ERNST, et al.,

             Defendants




                           STATUS REPORT ON REQUESTED TRIAL DATE



         Per the Court’s instruction, the Defendants and the U.S. Attorney’s Office jointly submit

this status report on a preferred trial date for this case. Although the parties have been unable to

agree on a specific date or month for trial, all parties agree that a date in November or December

of 2021 is preferable given their respective trial commitments and the fact that Covid-19

vaccines are expected to have been available and administered to everyone who wants one by the

third quarter of 2021.



         The parties’ positions are more specifically stated as follows:



      1. The Government agrees to a trial date in November or December of 2021.



      2. Defendant Ernst agrees to a trial date in November or December of 2021.
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   3. Defendant Heinel requests a trial date in December, and opposes a date in November,

      based on counsel’s firm commitment to begin a two defendant, 4-5 week complex federal

      health care fraud trial on September 14, 2021: United States v. Carrico, et al., 18-CR-

      120-JLS and 18-CR-121-JLS.



   4. Defendant Ferguson requests a December trial date.


   5. Defendant Vavic requests a trial date in November and opposes a date in December,

      based on his counsel’s need to conclude this trial in time to prepare for and travel to a

      February 22, 2022 trial in second jurisdiction outside of their Los Angeles base: United

      States v. Desai, 19-CR-864 (N.D. Ill), a complex fraud case pending in Chicago, which is

      projected to last 3-4 months.



Dated: December 4, 2020                      Respectfully submitted,



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                                CERTIFICATE OF SERVICE


      I hereby certify that the foregoing document was served by ECF on counsel for all parties
on December 4, 2020.



                                            /s/ Tracy A. Miner
                                            Tracy A. Miner
